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6    Attorney for Plaintiff
7
                         UNITED STATES DISTRICT COURT
8
                        CENTRAL DISTRICT OF CALIFORNIA
9
     RYAN ODUM,                                  ) Case No. 2:17-cv-00734-R-KS
10
                                                 )
                    Plaintiff,
11                                               ) NOTICE OF VOLUNTARY
12
                          v.                     ) DISMISSAL WITH PREJUDICE
                                                 )
13   PERSOLVE, LLC,
                                                 )
14                 Defendant.                    )
                                                 )
15
                                                 )
16
           NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
17
     Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
18

19
     prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a

20
     motion for summary judgment. Accordingly, this matter may be dismissed with
21   prejudice and without an Order of the Court.
22

23
           RESPECTFULLY SUBMITTED this 20th day of April, 2017.
24

25
                                 By:   s/Todd M. Friedman
                                       Todd M. Friedman, Esq.
26                                     Law Offices of Todd M. Friedman, P.C.
27                                     Attorney for Plaintiff
28




                                        Notice of Dismissal - 1
      Case 2:17-cv-00734-R-KS Document 9 Filed 04/20/17 Page 2 of 2 Page ID #:22



1    Filed electronically on this 20th day of April, 2017, with:
2
     United States District Court CM/ECF system
3

4    And hereby served upon all parties
5
     Notification sent on this 20th day of April, 2017, via the ECF system to:
6

7    Honorable Manuel L. Real
     United States District Court
8
     Central District of California
9
     And mailed via USPS to:
10

11   Reid L. Steinfeld
12   PERSOLVE, LLC
     Account Resolution Associates
13
     9301 Corbin Ave., Suite 1600
14   Northridge, CA 91324
15
     This 20th day of April, 2017.
16   By: /s/Todd M. Friedman
17
         Todd M. Friedman

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                                        Notice of Dismissal - 2
